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         EXHIBIT 4
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                                                              of Justice
                                          Federal Bureau of Prisons




                                               OPI:   HSD/HSS

Program                                     NUMBER:
                                              DATE:
                                           SUBJECT:
                                                      P5562.05
                                                      7/29/2005
                                                      Hunger Strikes

Statement

 1. [PURPOSE AND SCOPE §549.60. The Bureau of Prisons provides
 guidelines for the medical and administrative management of
 inmates who engage in hunger strikes. It is the responsibility
 of the Bureau of Prisons to monitor the health and welfare of
 individual inmates, and to ensure that procedures are pursued to
 preserve life.]

 2. SUMMARY OF CHANGES. Section 6 has been expanded to include
 pretrial and holdover inmates and ICE detainees.

 Section 9 identifies Health Services staff and Food Service staff
 as those who may offer alternative beverages and nutritional
 supplements, if authorized by the physician. This section also
 indicates food and toothpaste may be left in the inmate’s cell.

 Section 10 describes procedures for notifying the Regional
 Counsel when an inmate refuses treatment and the initiation of
 involuntary treatment.

 3. PROGRAM OBJECTIVES.       The expected results of this program
 are:

   a. The health and welfare of any inmate on a hunger strike
 will be monitored.

   b.   Food and beverages will be offered to inmates regularly.

   c. When an inmate’s life or health is threatened, involuntary
 medical treatment will be administered.




 [Bracketed Bold - Rules]
 Regular Type - Implementing Information
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  d. Every incident of an inmate on a hunger strike will be
properly reviewed, documented, and reported.

4.   DIRECTIVES AFFECTED

  a.    Directive Rescinded

       P5562.04   Hunger Strikes, Inmate (6/20/94)

  b.    Directives Referenced

       P5566.05   Use of Force and Application of Restraints on
                  Inmates (7/25/96)
       P6031.01   Patient Care (1/15/05)
       P6090.01   Health Information Management (1/15/05)

  c. Rules cited in this Program Statement are contained in
28 CFR § 549.60-66.

5.   STANDARDS REFERENCED

  a. American Correctional Association 4th Edition Standards for
Adult Correctional Institutions: 4-4257 and 4-4397(M)

  b. American Correctional Association 4th Edition Standards for
Adult Local Detention Facilities: 4-ALDF-4D-15(M) and
4-ALDF-2A-52

6. [DEFINITION §549.61.       As defined in this rule, an inmate is on
a hunger strike:

  a. When he or she communicates that fact to staff and is
observed by staff to be refraining from eating for a period of
time, ordinarily in excess of 72 hours; or

  b. When staff observe the inmate to be refraining from eating
for a period in excess of 72 hours. When staff consider it
prudent to do so, a referral for medical evaluation may be made
without waiting 72 hours.]

A hunger strike may be announced by the inmate, or observed by
staff, even though the inmate may be taking liquids.

       #    At times, an inmate may not actually engage in a hunger
            strike, but merely make a bid to gain attention.
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Other types of inmates (not on inpatient status in a Bureau of
Prisons Medical Referral Center or hospitalized in the community)
who should be monitored according to this policy include:

     #    Inmates who are observed to be unable to eat or drink
          by virtue of mental illness or acute medical
          conditions. Although not intentionally on a hunger
          strike, these inmates are either unwilling or unable to
          eat or drink sufficiently to prevent complications.

     #    Inmates with metabolic disorders or certain other
          illnesses, who deviate from normal eating habits or
          intake of fluid, could experience an immediate,
          significant hazard to their health and well-being.

          In any case, it is also recognized that after long-term
          deprivation of food and shorter term deprivation of
          fluid, serious irreversible changes can occur, and
          sudden death can occur.

Procedures required in this Program Statement apply to pretrial
and holdover inmates and ICE detainees.

7. [INITIAL REFERRAL    §549.62

  a. Staff shall refer an inmate who is observed to be on a
hunger strike to medical or mental health staff for evaluation
and, when appropriate, for treatment.]

  Each Warden shall establish referral arrangements for the
institution. In addition, staff may consult Health Services
anytime they observe an inmate refraining from consuming food
and/or liquids prior to 72 hours.

  [b. Medical staff ordinarily shall place the inmate in a
medically appropriate locked room for close monitoring.]

  Ordinarily, placement in the medically appropriate room is a
determination the institution physician makes. This room will be
a single cell observation room (i.e., dry cell or cell with water
shut-off capabilities), where no other inmate contact is possible
(i.e., other inmates can’t pass food or liquid items to the
inmate on hunger strike status).

  Inmates in Administrative Detention or Disciplinary Segregation
may be retained in this status and remain in the SHU unless the
physician determines movement to other quarters is medically
necessary.
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  The Warden is to determine the type of observation for hunger
strike inmates (e.g. continuous, 15 minute checks, routine).

     #     Under no circumstances will inmate companions be used
           to monitor hunger strike inmates.

8. [INITIAL MEDICAL EVALUATION AND MANAGEMENT §549.63

  a. Medical staff shall ordinarily perform the following
procedures upon initial referral of an inmate on a hunger strike:

     (1)   Measure and record height and weight;

     (2)   Take and record vital signs;

     (3)   Urinalysis;

     (4)   Psychological and/or psychiatric evaluation;

     (5)   General medical evaluation;

     (6)   Radiographs as clinically indicated;

     (7)   Laboratory studies as clinically indicated.]

  If an inmate refuses the initial medical evaluation, a signed
Refusal of Treatment form (BP-A358) must be obtained and also
documented in the Progress Notes (SF-600) of the Inmate’s Health
Record. (Refer to the Program Statement on Patient Care)

 [b. Medical staff shall take and record weight and vital signs
at least once every 24 hours while the inmate is on a hunger
strike. Other procedures identified in paragraph (a) of this
section shall be repeated as medically indicated.

  c. When valid medical reasons exist, the physician may modify,
discontinue, or expand any of the medical procedures described in
paragraphs (a) and (b) of this section.

  d. When medical staff consider it medically mandatory, an
inmate on a hunger strike will be transferred to a Medical
Referral Center or to another Bureau institution considered
medically appropriate, or to a community hospital.]

  The decision to transfer an inmate on a hunger strike for
medical reasons should only be made after consultation with a
physician.
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     #     The inmate should be admitted to a community hospital
           if his medical condition warrants continuous enteral
           (oral) or intravenous support.

     #     Local institutions need not transfer an inmate on a
           hunger strike to a Medical Referral Center (MRC) unless
           an MRC’s specific services are required.

     #     Mentally ill inmates who do not eat or drink for more
           than 30 days, regardless of the apparent reason, should
           be referred to an MRC for evaluation and treatment of
           the underlying mental illness.

  e. Medical staff shall record in the appropriate section of
the inmate’s Health Record, entries for all the medical
procedures described in this section. (Refer to the Program
Statement on Health Information Management.)

9.   [FOOD/LIQUID INTAKE/OUTPUT §549.64

  a. Staff shall prepare and deliver to the inmate’s room three
meals per day or as otherwise authorized by the physician.]

  A verbal offer of a meal will not suffice. Food from the food
tray may be left in the inmate’s cell. Ordinarily, when the food
tray is left in the inmate’s cell, perishable food items will not
be left for more than two hours.

  [b. Staff shall provide the inmate an adequate supply of
drinking water. Other beverages shall also be offered.

  c. Staff shall remove any commissary food items and private
food supplies of the inmate while the inmate is on a hunger
strike. An inmate may not make commissary food purchases while
under hunger strike management.]

  An inmate under hunger strike management may still purchase
non-food items, such as stamps, from the commissary. The inmate
is allowed to have toothpaste in the dry cell.

  d. All food and water intake and output will be monitored and
recorded as needed or to the extent possible. The Warden shall
make this determination after consultation with the physician.
This procedure is to continue until ended by a physician.

     #     This means a dry cell must be available for housing
           hunger strike inmates.
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  Health Services and Food Service staff may offer alternative
beverages, including liquid nutritional supplements, if
authorized by the physicians. Any beverages other than drinking
water must be documented (e.g. BP-S292) and that information
relayed to Health Services staff. Acceptance of liquids alone
should not be documented as accepting a meal.

10. [REFUSAL TO ACCEPT TREATMENT §549.65

  a. When, as a result of inadequate intake or abnormal output,
a physician determines that the inmate’s life or health will be
threatened if treatment is not initiated immediately, the
physician shall give consideration to involuntary medical
treatment of the inmate.]

  The decision to force treatment upon the inmate is a medical
decision, preferably by a written physician’s order, with
potential legal implications.

  When it appears to medical staff that the inmate’s condition is
deteriorating to the extent that intervention may soon be
required, the Regional Counsel must be notified so any legal
issues may be addressed. Although legal counsel has been
notified, medical staff should not suspend or delay involuntary
treatment if the physician is convinced to a reasonable medical
certainty that there is an immediate threat to the inmate’s life,
or permanent damage to the inmate’s health.

  Regional Counsel will determine whether it is appropriate to
contact the local U.S. Attorney’s Office.

     #    In the case of potential involuntary treatment of a
          pretrial inmate, institution legal staff or the
          Regional Counsel must be notified that intervention may
          be required, in order to determine whether the court
          should be notified.

     #    In all such situations, the Regional Counsel will
          inform the Regional Director.

  [b. Prior to medical treatment being administered against the
inmate’s will, staff shall make reasonable efforts to convince
the inmate to voluntarily accept treatment. Medical risks faced
by the inmate if treatment is not accepted shall also be
explained to the inmate. Staff shall document their treatment
efforts in the medical record of the inmate.
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  c. When, after reasonable efforts, or in an emergency
preventing such efforts, a medical necessity for immediate
treatment of a life or health threatening situation exists, the
physician may order that treatment be administered without the
consent of the inmate. Staff shall document their treatment
efforts in the medical record of the inmates.]

  Written reports of such treatment shall be submitted to the
Medical Director and Regional Director. The Warden shall provide
prompt notification and any involuntary treatment under this
Program Statement to the sentencing judge, with an explanation of
the background of and the reasons for the treatment. The outcome
of the hunger strike and the treatment administered shall also be
reported.

  When a physician orders involuntary medical treatment, to
include placing a nasogastric tube for feeding, and the inmate
refuses to comply, as with any other use-of-force, these events
should be videotaped.

  All staff involved in the use of force shall wear appropriate
protective clothing as outlined in the Use of Force Program
Statement.

  Only the physician may order involuntary medical treatment.

     #    Normally, this is to consist of a nasogastric tube for
          feeding.

     #    If unsuccessful or medically inappropriate, then
          intravenous fluids and hyperalimentations intravenously
          may be necessary.

     #    As a last report, gastrostomy and tube feeding through
          the stomach may be required, however, review by the
          appropriate court should first be sought before
          attempting this treatment.

     #    Simple IVs may be performed in the institution,
          however, hyperalimentations or gastrostomy tube feeding
          must be performed in a hospital or an MRC (see Clinical
          Treatment Guidelines or Medical Management of Inmates).

 [d. Staff shall continue clinical and laboratory monitoring as
necessary until the inmate’s life or permanent health is no
longer threatened.]
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  Normally, treatment must continue until adequate oral intake of
food and liquid is achieved. Medical monitoring for severe or
life-threatening complications of malnutrition may continue, at
the physician’s discretion, beyond the point at which the inmate
resumes adequate oral intake.

  [e. Staff shall continue medical, psychiatric and/or
psychological follow-up as long as necessary.]

11. [RELEASE FROM TREATMENT §549.66. Only the physician may
order that an inmate be released from hunger strike evaluation
and treatment. This order shall be documented in the medical
record of the inmate.]

Documentation is to be made in the Progress Notes section of the
Inmate’s Health Record.

12. MEDICAL JUDGMENT. None of the procedures or guidelines in
this Program Statement are meant to limit or override the
exercise of sound medical judgment by the physician responsible
for medical care.

     #    Each case must be evaluated on its own merits and
          individual circumstances.

     #    Treatment is to be given and documented in accordance
          with accepted medical practice.




                                                  /s/
                                             Harley G. Lappin
                                             Director
